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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

          MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                )
                                        )       CRIMINAL ACTION NO.
     v.                                 )           2:12cr84-MHT
                                        )               (WO)
COURTNEY JOHNSON                        )


                           OPINION AND ORDER

      Courtney        Johnson     is        a   defendant       with        an

intellectual disability, who came before this court for

violating      his    probation      by     failing    to     complete      a

drug-treatment program.              The central dispute between

the parties was whether he should receive custody or

whether continuing drug treatment was a more reasonable

sentence.

      Years ago, we would not have had this discussion,

because      Courtney      Johnson     would    have   been    put     in    a

mental-health facility and would not have received any

treatment at all.          He would have just been housed away

as    someone        who    is   perhaps        ‘mentally      retarded,’
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forgotten   and      potentially    abused.       We   no    longer     do

that.

    And yet, Johnson was still before this court, with

the potential of being locked up.             The court refused to

sentence Johnson to custody, reasoning that we should

not take people with intellectual disabilities out of

mental-health facilities simply to put them in prison

instead.    We cannot just substitute one institution for

another.    This opinion explains how we, as a country,

have moved people with intellectual disabilities from

one institution to another and why the court refused to

continue that pattern in this case.



                           I. BACKGROUND

    Johnson     is    a   24   year-old   man    who   was    born      and

raised in Montgomery, Alabama.             He is the youngest of

his mother’s seven children, and he continues to live

with his mother in Montgomery.             He has no relationship

with his father.          Johnson testified that he did not

have many friends and relied on family for support.


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       Although Johnson had a relatively stable home life

with his mother and siblings, he grew up with violence

around him.        Drug dealing and shootings were common in

the     neighborhood.         Three    of       his    cousins    have    been

killed by violence.             His older brother, whom Johnson

described as the backbone of the family, also passed

away four years ago, from natural causes.                        Despite the

hardship, Johnson never became involved in the violence

himself; however, he did begin to use marijuana daily

at age 16.

       Johnson struggled in school.                   He was held back in

the second, fifth, sixth, and ninth grades.                         Although

he had failed a number of grades, the school did not

recognize his intellectual disabilities until seventh

grade,      at    which     point     he    received        one    year     of

instruction tailored to his needs.                     He did not receive

this     tailored     instruction,         or    any    other     additional

help,     before     or   after     seventh      grade.         After    ninth




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grade, Johnson “aged out” of high school.                   He was 18

years old at the time.1

    Soon after Johnson “aged out” of school, he was

recruited by his aunt and cousins to take part in a tax

scheme they had started at least one year earlier, in

2008.     His aunt owned a tax-preparation business and

used the business to file false returns.                     The aunt

sought out certain members of the family to whose bank

account    she    could     route       the   fraudulent      returns,

presumably in an attempt to mask the source of the

     1.     Although there is not a full record on
Johnson’s education, the school’s seeming failure to
recognize his disability until he was at a relatively
late stage and the single year of tailored instruction
after that recognition raise questions under the
Individuals with Disabilities Education Act (IDEA), 20
U.S.C. § 1400 et seq.       That act requires that “all
children with disabilities ... who are in need of
special education and related services, are identified,
located, and evaluated and a practical method is
developed and implemented to determine which children
with    disabilities   are  currently   receiving needed
special     education   and   services.”      20  U.S.C.
§ 1412(a)(3).     Based on the available record, it is
unclear why it took the school until seventh grade to
identify Johnson’s intellectual disability or why his
individualized education plan (if he had one) called
for only one year of tailored education.



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returns.         After       being    recruited          by    his   aunt   and

cousins, Johnson agreed to allow some of the money into

his bank account.             The scheme was discovered, Johnson

was     charged,      and    he    pled     guilty       to    conspiracy     to

defraud the United States, pursuant to 18 U.S.C. § 371.

After        taking         into      account        Johnson’s         limited

participation         in     the     scheme,       his    young      age,   his

addiction       to    marijuana,       and     his       susceptibility       to

influence       by    family         because    of       his     intellectual

disability, the court sentenced Johnson to five years

of probation in October 2012.                  He started probation in

February 2013.

       After ten months of probation without a violation,

Johnson tested positive twice for drugs towards the end

of the first year (October and December 2013).                          Before

the revocation hearing on these violations, he had a

psychological         evaluation       by    Dr.     Catherine       Boyer,   a

clinical and forensic psychologist.                       Boyer found that

Johnson has a full scale IQ of 72, which puts him at

the bottom end of the range for borderline intellectual


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functioning and close to the 70 cutoff for mild mental

retardation.          He    is    below    the    fifth    percentile       in

working        memory,       processing          speed,        and    verbal

comprehension, and he has the receptive vocabulary of a

10 year old.          He testified, and probation confirmed,

that he has trouble with basic reading and writing.

While he can add money, he has difficulty with addition

and subtraction, which has prevented him from being

able to complete job applications in the past, such as

one to Subway.             His strength is perceptual reasoning

and     visual    spatial        abilities,      where    he    is   in    the

twenty-first percentile.

       Taking into account the difficulty of fighting drug

addiction      and    Johnson’s      intellectual        disability,       the

court ordered Johnson to complete five months at an

inpatient       halfway     house.    On    his    first       day   at   this

halfway      house    (April      2014),    he    tested       positive    for




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“spice” and was not able to attend at all.2                      He also

tested positive for spice several months later (June

2014),     when    he   was    arrested     for    a   crime    that      was

eventually nol-prossed.            Upon consideration of a second

revocation petition due to these violations, the court

ordered     Johnson     to    spend   six   months     in   a   different

inpatient treatment center, which he began in October

2014.     He completed five months and three weeks before

being removed for smoking a cigarette in the bathroom

as well as for losing his job and being in possession

of an unidentified liquid outside of the cafeteria.

Johnson     pled    guilt     to   smoking     a   cigarette      in      the

bathroom and being removed from the inpatient facility

for that reason.          The court accepted his guilty plea,

on    those    grounds       alone.       Although     Johnson     tested

negative for drugs several days after being removed,

    2.   Spice is a form of synthetic marijuana. Its
widespread use in Alabama has been deemed a public
health crisis. See Michael E. Miller, Inside Alabama’s
Deadly       Spice       Craze,        Wash.       Post,
http://www.washingtonpost.com/news/morning-mix/wp/2015/
04/24/inside-alabamas-deadly-spice-craze/.



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and presumably stayed clean in the halfway house, he

has since admitted to using spice in the two months

since being out of the inpatient facility (around May

2015).        He has not tested positive for any drug except

marijuana and spice.

        Although Johnson has relapsed several times on his

spice addiction, he has maintained relatively steady

employment.          From     2010    to    2012,    he   worked     at    a

recycling firm as a laborer and a forklift driver at

least part time.             In the fall of 2012, he obtained a

job at a Hyundai supplier, where he again worked as a

laborer.       While Johnson’s job history from 2013 to 2014

is unclear, he started another job at Big Lots when he

enrolled at the second halfway house in October 2014.

After working that job for several months, he spent

three to four months at a food-processing plant, where

he suffered an on-the-job injury.                   He could not work

for      several     weeks      due    to    the     injury,      but      he

subsequently found another job at a Hyundai supplier

and     now    works    on    call    delivering      packages      for    a


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relative who is a FedEx contractor.                       While many of

these    were    temporary      jobs,    Johnson    has     demonstrated

continual effort to obtain employment and has done so

despite his intellectual disability.

      Johnson was before the court to determine whether

it    should      revoke       his    probation      or     modify        its

conditions.



                      II. SENTENCING GUIDELINES

      When a defendant violates probation, a court may

either     “continue     him    on   probation,      with    or   without

extending       the   term     or    modifying     or     enlarging       the

conditions; ... or revoke the sentence of probation and

resentence the defendant....” 18 U.S.C. § 3565.3                           In


    3.    Probation did not note drug use on the
violation report, and the court therefore did not
consider it as a ground for revocation.    Even if the
drug use were considered, it would still not warrant a
custody sentence.

    Revocation is “mandatory” for certain violations,
including if the defendant, “as a part of drug testing,
tests positive for illegal controlled substances more
(continued...)


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making its decision, the district court must determine

what   is     a   reasonable      sentence      by    applying      the

sentencing factors listed in 18 U.S.C. § 3553(a):

            “(1) the nature and circumstances of
            the   offense  and   the  history and
            characteristics of the defendant;

            “(2)   the    need     for    the     sentence
            imposed—

            (A) to reflect the seriousness of the
            offense, to promote respect for the
            law, and to provide just punishment
            for the offense;

            (B) to afford adequate deterrence to
            criminal conduct;

            (C) to protect the public from further
            crimes of the defendant; and

            (D) to   provide the         defendant with
            needed   educational         or   vocational

than 3 times over the course of 1 year.”      18 U.S.C.
§ 3565(b). However, in the case of failed drug tests,
“the court shall consider whether the availability of
appropriate substance abuse treatment programs, or an
individual's current or past participation in such
programs, warrants an exception” to revocation.       18
U.S.C. § 3563(e). Here, Johnson did test positive more
than 3 times in one year--in October 2013, December
2013, April 2014, and June 2014. Nevertheless, for the
reasons stated in this opinion, an exception is
warranted based on Johnson’s need for drug treatment.



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         training,   medical care, or  other
         correctional treatment in the most
         effective manner;

         “(3) the kinds of sentences available;

         “(4) the kinds of sentence and                    the
         sentencing range established for—

         (A) the applicable category of offense
         committed by the applicable category
         of defendant as set forth in the
         [sentencing] guidelines ...

         “(5) any pertinent policy statement
         [by the Sentencing Commission] ...

         “(6) the need to avoid unwarranted
         sentence disparities among defendants
         with similar records who have been
         found guilty of similar conduct; and

         “(7) the need to provide restitution
         to any victims of the offense.”

    To   aid     the    court     in     determining   a    reasonable

sentence,      the     United     States    Sentencing      Guidelines

provide potential sentencing ranges should the court

revoke   probation.        See     USSG    § ch.7,   pt.    A.     These

ranges   are    advisory        policy    statements   and       are   not

binding; however, courts must at least consider them

when imposing a sentence.           See id.



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      The policy statements on revocation are based on

the seriousness of the violation and the defendant’s

prior criminal history at the time he was originally

sentenced.

      Johnson’s failure to complete all six months at the

inpatient facility is a class C violation.                        Class C

violations are the least serious violations and include

conduct constituting a federal, state, or local offense

punishable by one year or less, or any violation of any

condition of probation.            See USSG § 7B1.1.          The failure

to    stay    at   the    halfway     house    was     a    violation      of

probation      conditions.          When    Johnson        committed     his

original crime, he had no criminal history, which puts

him    in    criminal    history     category     I.       The   range     of

imprisonment is 3 to 9 months for a Grade C violation

by an offender with a criminal history category of I.

See USSG § 7B1.4.




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                            III. DISCUSSION

      Johnson played a minor role in a non-violent crime

when he was 18 years old, soon after he “aged out” of a

school that provided him one year of special education

despite his intellectual disability.                  He continues to

be    part    of    the    criminal       justice    system    based       on

repeated positive drug tests on probation.                    As stated,

the issue raised by the parties was whether Johnson

should receive custody for his probation violation.



                                     A.

      To understand the reason why Johnson became part of

and remains within the criminal justice system, it is

important to understand the historical context of how

courts       have   treated      individuals        with   intellectual

disabilities in the past.

      The court system--and this country--have struggled

with how best to support individuals with intellectual

disabilities.        Before the 1970s and 1980s, people with

intellectual        disabilities       were     routinely      committed


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involuntarily to state institutions.                See Gunnar Dybwad

&   Stanley    S.   Herr,     Unnecessary      Coercion:    An    End     to

Involuntary Civil Commitment of Retarded Persons, 31

Stan. L. Rev. 753, 754 (1979).                 This solution, likely

born out of the pseudo-science of eugenics, see id.;

James    W.   Ellis    Ruth    A.,    Mentally      Retarded     Criminal

Defendants, 53 Geo. Wash. L. Rev. 414, 419 (1985), saw

intellectual disability as a “hopeless and incurable

static condition,” that could not be affected by an

individual’s        “learning        and     living     environments,”

Stanley S. Herr, The New Clients: Legal Services for

Mentally Retarded Persons, 31 Stan. L. Rev. 553, 561

(1979)    (internal      quotation         marks   omitted).       “Since

retarded people4 were seen as ‘going nowhere,’ lawmakers


    4. Throughout the opinion, the court uses “people
first” language and will generally use intellectual
disability rather than mental retardation.     See Joan
Petersilia,    California   Policy   Research    Center,
University of California, Doing Justice? Criminal
Offenders with Developmental Disabilities, 1 n.1 (2000)
(noting that “people first” language refers to the
“person first, rather than the disability” and that
“although the term mental retardation is still used,
(continued...)


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and caretakers had little incentive to fund or operate

adequate training programs.”              Id.

       This court has experience with the consequences of

that     view.       In   Wyatt    v.     Stickey,    Judge    Frank       M.

Johnson, Jr. described the unconstitutional conditions

at     an    Alabama      institution       for      individuals      with

intellectual disabilities:

            “The evidence ... has vividly and
            undisputedly portrayed Partlow State
            School and Hospital as a warehousing
            institution which, because of its
            atmosphere     of    psychological    and
            physical     deprivation,    is    wholly
            incapable of furnishing habilitation
            to   the   mentally retarded and       is
            conducive only to the deterioration
            and    the     debilitation     of    the
                        5
            residents.[ ]       The    evidence   has

the preferred term is cognitive, intellectual, or
developmental disability”); see also Diagnostic and
Statistical Manual of Mental Disorders 33-41 (5th ed.
2013) (using intellectual disability).    However, the
court will not alter quotations to do so.

    5.    The court’s opinion defined habilitation as
“the process by which the staff of the institution
assists the resident to acquire and maintain those life
skills which enable him to cope more effectively with
the demands of his own person and of his environment
and to raise the level of his physical, mental, and
(continued...)


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         reflected further that safety and
         sanitary conditions at Partlow are
         substandard    to    the    point   of
         endangering the health and lives of
         those residing there, that the wards
         are grossly understaffed, rendering
         even simple custodial care impossible,
         and   that   overcrowding   remains  a
         dangerous problem often leading to
         serious accidents, some of which have
         resulted in deaths of residents.”

344 F. Supp. 387, 391 (M.D. Ala. 1972) (Johnson, J.)

(internal quotation marks omitted) aff’d in part, rev’d

in part and remanded sub nom. Wyatt v. Aderholt, 503

F.2d 1305 (5th Cir. 1974).               In a later law review

article, Judge Johnson continued,

         “Indeed, the evidence reflected that
         one resident was scalded to death when
         a fellow resident hosed water from one
         of the bath facilities on him; another
         died as a result of the insertion of a
         running water hose into his rectum by
         a working resident who was cleaning
         him; one died when soapy water was
         forced into his mouth; another died of

social efficiency. Habilitation includes but is not
limited to programs of formal, structured education and
treatment.”  Wyatt v. Stickney, 344 F. Supp. 387, 395
(M.D. Ala. 1972) aff’d in part, rev’d in part and
remanded sub nom. Wyatt v. Aderholt, 503 F.2d 1305 (5th
Cir. 1974).



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            a    self-administered    overdose    of
            inadequately    stored     drugs;    and
            authorities      restrained      another
            resident in a straitjacket for nine
            years to prevent him from sucking his
            hands    and   fingers.        Witnesses
            described the Partlow facilities as
            barbaric and primitive; some residents
            had no place to sit to eat meals, and
            coffee cans served as toilets in some
            areas of the institution.”

Frank     M.   Johnson,       The    Constitution       and   the       Federal

District       Judge,    54    Tex.     L.     Rev.    903,       909    (1976)

(emphasis in original).

      While     the      Wyatt       lawsuit    and      those      like      it

ameliorated conditions in these institutions, id. at

909-910,        advocates        maintained           that    “involuntary

commitment      by     its    very    nature    imposes       a    grave     and

irreversible stigma on both retarded persons and their

families.”       Dybwad and Herr, supra, at 756.                    The gist

of     this     deinstitutionalization              argument        is      that

ameliorating           institutional          conditions          attacks      a

by-product        of      segregation          of      individuals          with

intellectual         disabilities       but    does     not   address        the

ideology of segregation itself.                     Segregation signals


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that those with intellectual disabilities are hopeless,

unworthy of family, and pose a threat or burden the

community cannot bear.                In other words,        segregation

suggests       that         individuals          with       intellectual

disabilities    are      not    full    human    beings.      And,     when

individuals     are      not    thought     of     as     human     beings,

dehumanizing conditions such as those in Wyatt probably

will reoccur, despite the best efforts of courts and

those who manage the institutions.

    Responding      to      these     arguments,    the    World     Health

Organization, United Nations, and American Association

on Mental Deficiency all endorsed the position that

individuals with intellectual disabilities live in the

least restrictive environment by 1980.                  Herr, supra, at

558-559.       In     the      late    1990s,    the      Supreme     Court

recognized that Congress came to the same conclusion in

the Americans with Disabilities Act.               The Court stated,

           “Recognition      that       unjustified
           institutional   isolation   of   persons
           with   disabilities   is   a   form   of
           discrimination reflects two evident
           judgments.     First,     institutional


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           placement of persons who can handle
           and benefit from community settings
           perpetuates    unwarranted   assumptions
           that persons so isolated are incapable
           or   unworthy    of   participating   in
           community life.     Second, confinement
           in an institution severely diminishes
           the   everyday    life   activities   of
           individuals,       including      family
           relations,    social    contacts,   work
           options,     economic      independence,
           educational advancement, and cultural
           enrichment.”

Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 601-602

(1999) (internal citations omitted).6

      The success of the deinstitutionalization movement

has     brought    its   own    challenges        with    the   criminal

justice system and addiction that intersect in this

case.       Since    deinstitutionalization,             scholars   have

predicted     an    increased    number      of     individuals     with

intellectual disability interacting with the criminal

justice system for several reasons.

    6. The term ‘mental disabilities,’ which the Court
used, can refer to individuals with intellectual
disabilities as well as those with mental illness.
While the needs of individuals with these disabilities
differ, Congress determined that it was discrimination
for either to be segregated without justification.



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       First, deinstitutionalization rightly allows people

with    intellectual       disabilities         to    be   part    of   their

community, but a small subset of this group, just like

anyone else in the community, may commit crimes.                          See

H.    Rutherford       Turnbell       III,    The    Mental    Retardation

Services      System     in   The     Criminal       Justice   System     and

Mental Retardation 4, 4-5 (Ronald W. Corley et al.,

eds., 1992) (“None of us should say that people with

mental retardation do not commit crimes.”).                       Of course,

people who commit crimes interact with the criminal

justice system.

       Second, people with intellectual disabilities often

have “a susceptibility to being involved in criminal

activity by others who exploit their naiveté.”                           Diane

Courselle,        Mark        Watt,        Donna      Sheen,       Suspects,

Defendants, and Offenders with Mental Retardation in

Wyoming, 1 Wyo. L. Rev. 1, 5 (2001); see also Joan

Petersilia,           California       Policy         Research         Center,

University       of     California,          Doing    Justice?      Criminal

Offenders      with     Developmental         Disabilities,       10    (2000)


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(In relation to her study on California prisons, noting

that “[w]ith the growth of gangs in urban areas, there

appears to be a greater incidence of exploitation of

people     with      mental       retardation         in      criminal

activities”).         As examples of this susceptibility,

people   with     intellectual      disabilities       “may    act      as

lookouts, transport drugs or other contraband, carry a

forged    check    into     a    bank,     or   attempt       to     sell

merchandise     stolen    by    others”    at   another’s     request.

President’s Committee on Mental Retardation, Report to

the President: Citizens with Mental Retardation and the

Criminal Justice System 5 (1991).

      Third,       “the          overall         trend         towards

deinstitutionalizing            people      with       developmental

disabilities has led to a rise in the number who live

on the streets or in shelters.”             Petersilia, supra, at

11.    Scholars have warned that “deinstitutionalization

in many states simply moved people from the back wards

to the back alleys [and the] promise of freedom has

often proved to be as chimerical as the promise of


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treatment.”          Martha Minow, Law and Social Change, 62

UMKC L. Rev. 171, 180 (1993) (internal quotation marks

omitted); see also id. (commenting that, while “the

link     between     homelessness        and       deinstitutionalization

has     been    exaggerated        in    the       press    and    in   public

imaginations[,] ... [i]t is difficult ... to challenge

the widespread public perception that reformers have

granted people with mental disabilities a right to live

on     the     sidewalk.”).              People       with        intellectual

disabilities who do not receive the proper treatment

while     homeless      or    in    shelters         may     “flounder      and

eventually come to the attention of the police and the

courts.”       Petersilia, supra, at 11.

       Last,     although      individuals            with        intellectual

disabilities tend to have the same or lower rates of

substance      abuse    as   others,         see    Karen    M.     Cocco   and

Dennis C. Harper, Substance Use in People with Mental

Retardation: A Missing Link in Understanding Community

Outcomes?,      46    Rehabilitation         Counseling       Bulletin      34,

35-37 (2002), “little is known ... about how to best


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address alcohol or drug addiction among people with

[mental         retardation]       with      or        without   cooccurring

[mental         illness],”     Elspeth       Slayter       and   Shelley    A.

Steenrod, Addressing Alcohol and Drug Addiction Among

People          with     Mental      Retardation          in     Nonaddiction

settings: A Need for Cross-System Collaboration, 9 J.

of Soc. Work Practice in the Addictions 71, 72 (2009).

This lack of specialized drug treatment for those with

intellectual disabilities potentially leads to repeated

violations of supervised release or probation.                              Cf.

Frank J. Laski, Sentencing the Offender with Mental

Retardation in The Criminal Justice System and Mental

Retardation 137, 138 (Ronald W. Corley et al., eds.,

1992) (“Characteristics associated with the disability

of     mental          retardation      frequently         result    in     the

defendants being viewed as poor risks for probation and

other diversionary noninstitutional programs.”).

      As        increased         numbers         of      defendants       with

intellectual disabilities do come before the court, one

issue      is    how     to   account     for     such    a    disability    in


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sentencing.        Although a goal of deinstitutionalization

is      ‘normalization’--that                   is,     for     people        with

disabilities        to        live     in       and     interact       with    the

community--the emerging consensus is that courts must

still     take    into        account       a    defendant’s       intellectual

disability       upon     sentencing.             See    Courselle       et   al.,

supra, at 4; Petersilia, supra, at 9 (“The consensus

within the profession, and endorsed by The Arc of the

U.S., the President’s Committee on Mental Retardation,

and the American Association on Mental Retardation, is

that     because      of       the     unique         aspects     of    the    law

enforcement         and        correctional             environments,          the

normalization        goals        for       people       who    are     mentally

retarded should not fully apply to those settings.”)

(emphasis in original).              That does not mean that people

with      intellectual           disabilities            should        not    face

consequences for their crimes, but instead that courts

should consider intellectual disability when addressing

culpability       for     a    crime    and       appropriate      punishment.

The Sentencing Guidelines recognize this need through


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the    downward     departure      for     diminished      capacity.     See

USSG    § 5K2.13.      Courts    have      recognized      this   need     as

well, granting downward variances pursuant to 18 U.S.C.

§ 3553(a) based on intellectual disability.                    See United

States v. Piggott, 2015 WL 1894319, at *4 (M.D. Ala.

2015) (Thompson, J.) (varying downward where defendant

had IQ in the mid-70s because the defendant was “in

many ways like a child in his ability to grasp the

consequences of his actions”); see also United States

v.    Blair,     565   F.    App'x    548,      557   (7th    Cir.    2013)

(affirming        lower-court         opinion     granting        downward

variance based on the defendant’s decreased culpability

due to his intellectual disability); United States v.

Allen,     250    F.    Supp.    2d      317,   321   (S.D.N.Y.       2003)

(Scheindlin, J.) (varying downward based, in part, on

the defendant’s low-average to borderline IQ scores).

In sum, if twin objectives of sentencing are punishment

for culpable behavior and (re)habilitation, those two

objectives       should     be    tailored       to    a     person    with




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intellectual disabilities who is likely less culpable

and needs specialized treatment.

      With this background in mind, the court turns to

why it did not revoke Johnson probation and instead

modified the conditions.



                                   B.

      Even   if    Johnson        did    not   have     intellectual

disabilities, the question of whether to sentence him

to a custodial sentence would have been difficult.                  For

his   original    crime,     he    was    pulled    into    a   family

tax-fraud scheme the year he dropped out of school;

moreover, he played a minor role.                During probation,

he--like any person addicted to drugs--has gone through

clean periods and relapses.              While he has been given

two chances at an inpatient facility, he never entered

the first one because he tested positive on the first

day, and he completed all but ten days of a six-month

term at the second facility.             At the second facility,

he did not use any illegal substance for six months,


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and he was kicked out, not because of a positive drug

test,   but   rather     because       he     smoked    a    cigarette.

Although sending him to prison for three months could

be a wake-up call, it is unclear whether a wake-up call

helps solve the underlying addiction.                  And, from this

court’s experience, drug-treatment programs in prison

have decidedly mixed results.               It is also questionable

in general whether a non-violent felon, who committed

one crime when he was 18, should be put in prison more

than five years later for drug addiction.

    Johnson’s intellectual disability made it an easier

case.   Johnson    received     little       special    education       at

school, and, soon after he aged out, his family pulled

him into a crime.          As noted above, his intellectual

disability likely made him more susceptible to these

negative   influences.          On     probation,       he   has   made

good-faith efforts to maintain employment and currently

has a part-time job.           His problem has been illegal

drugs, and he has shown the ability to refrain from

using them for long periods, including the almost six


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months      that     he   resided    in    the       inpatient    facility.

However, these periods of sobriety have been followed

by relapses, perhaps because the drug treatment has not

been tailored to his disability.

       Given    these     circumstances,         the    court    determined

that        specialized      treatment          is     more      reasonable

punishment         than    custody.             Specifically,      as   the

following order lays out,             the court will require drug

counseling,        adult-education         classes,      and     vocational

rehabilitation.             The     drug        counseling       both   will

reinforce the need to avoid spice and will give Johnson

someone to talk to, a desire that he emphasized at

sentencing.        The adult-education classes and vocational

rehabilitation will help Johnson with reading, writing,

arithmetic, and communication skills that will help him

in    his    daily    interactions        and    his   work.      Combined,

these treatments, the court hopes, will help Johnson to

be part of the community.

                                    ***




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    Having found defendant Courtney Johnson guilty of

violating   his    probation      by    failing      to    reside       at    a

residential      reentry    center      for    six       months,      it     is

ORDERED that the petition for revocation (doc. no. 368)

is granted only to the extent that defendant Courtney

Johnson’s   conditions       of   supervision        are    modified         as

follows:

    (1) Defendant Johnson, because he has admitted to

use of “Spice”, shall attend and successfully complete

an outpatient treatment program at Chemical Addictions

Program (CAPS).

    (2) Defendant       Johnson,       when    he   is    not    employed,

shall   attend    a   vocational       rehabilitation            course      as

determined by the supervising probation officer.                           The

probation officer should look for a course that focuses

on development of employment and communicative skills.

    (3) Defendant          Johnson     is      required         to     attend

adult-education       classes     to    help     with      his       reading,

writing, and arithmetic.




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    (4) Defendant Johnson shall receive mental-health

treatment.        Defendant      Johnson,     at    the       revocation

hearing, suggested that, when he was medicated, he felt

better.     Whoever is responsible for providing defendant

Johnson with treatment should assess whether medication

is necessary.      If so, defendant Johnson shall take his

medication as prescribed.

    (5)     It is recommended that defendant Johnson work

toward obtaining his GED.            At the revocation hearing,

defendant      Johnson    said   that     this     was    a    personal

life-long      goal,   and,   with    this    recommendation,       the

court wishes him best in working toward this goal.

    It    is    further   ORDERED     that    defendant       Johnson’s

probation is not revoked.

    DONE, this the 17th day of August, 2015.

                                     /s/ Myron H. Thompson___
                                 UNITED STATES DISTRICT JUDGE
